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   MYSPACE, INC.


                              UNITED STATES DISTRICT COURT

                          CENTRAL DISTRICT OF CALIFORNIA


    MYSPACE, INC., a Delaware                CASE NO. CV-07-1929 ABC (AGRx)
    Corporation,
                                             DECLARATION OF LORI CHANG
                                             IN SUPPORT OF PLAINTIFF
                 Plaintiff,                  MYSPACE, INC.'S MOTION FOR
                                             DEFAULT JUDGMENTS AGAINST
    VS.                                      DEFENDANTS SANFORD
                                             WALLACE AND WALTER RINES
    SANFORD WALLACE D/B/A
                                             Filed Concurrently With:
    FREE VEGASCLUBS.COM , REAL-              Notice of Motion and Motion;
    VEGAS-SINS.COM , and FEEBLE              Memorandum; Declaration of Kevin
    MINDED PRODUCTIONS, an                   Datoo; Declaration of Shing Yin
    individual; WALTER RINES, an             Khor; Declaration of Joseph Marotta;
    individual; ONLINE TURBO                 and (Proposed] Order.
    MERCHANT, INC., a corporation;
                                             Date: May 12, 2008
    and ODYSSEUS MARKETING,                  Time: 10:00 a.m.
    INC., a corporation,                     Ctrm: 680
                                             Judge: Hon. Audrey B. Collins
                 Defendants.



                       DECLARATION OF LORI CHANG IN SUPPORT OF MYSPACE'S
                       MOTION FOR DEFAULT JUDGMENTS AGAINST DEFENDANTS
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 1                             DECLARATION OF LORI CHANG
          I, Lori Chang, declare:
 3        1.     I   am an attorney licensed to practice law in California and before this Court.
 4 I am an associate in the law firm of Greenberg Traurig, LLP, counsel of record for

 5 Plaintiff MySpace, Inc. ("MySpace") in this action. 1 have personal knowledge of the

 6 following facts, to which I would competently testify if necessary.

 7        2.     On September 25, 2007, the Court entered an Order authorizing alternative
 8 service by certified mail and email on defendant Walter Rines. A true and correct copy
 9 of the Order is attached as Exhibit 1. The Order provided that service of the summons

10 and First Amended Complaint on Rines could be made by email to

11 w.walterrines@comcast.net and by certified mail to Rines's home address, 6 Laurel

12 Lane, Stratham, NH 03885. The Order further provided that service would be deemed

13 complete upon emailing and mailing.
14        3.     The First Amended Complaint was filed on September 26, 2007. October I,
15 2007, counsel for MySpace caused defendant Rines to be served with a copy of the

16 summons and First Amended Complaint by certified mail and email, as reflected on the

17 Amended Proof Of Service, a true copy of which is attached hereto as Exhibit 2 and the

18 original of which was tiled with the Court on October 16, 2007. Rifles, however, appears
19 to have rejected service of the certified mail package because it was returned to counsel

20 for MySpace marked "unclaimed." At some time after we served Rines by email, Rines

21 also cancelled his comcast.net email account.
          4.     Pursuant to the Federal Rules of Civil Procedure, defendant Rines was
23 required to respond to the First Amended Complaint by October 19, 2007. Rines,
24 however, has not appeared, answered, or otherwise responded to the First Amended
25 Complaint. As set forth in the accompanying Declaration of Joseph Marotta, Rines

26 nevertheless has found a way literally and figuratively to raise his middle finger in an

27 obscene gesture to MySpace.
28
                          DECLARATION OF LORI CHANG IN SUPPORT OF MYSPACE'S
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         5.     Attached as Exhibit 3 are true and correct copies of the court's order
   entering default against Walter Rines, entered on November 28, 2007, and the clerk's
   entry of default against Rines.
         6.     Attached as Exhibit 4 is a true and correct copy of the court's order entering
   default against Sanford Wallace, entered on April 16, 2008.
         7.     Neither Sanford Wallace nor Walter Rines is an infant, incompetent, in
   military service or otherwise exempted from default judgment under the Soldiers and
   Sailors' Civil Relief Act of 1940.
         8.     In July 2007, counsel for MySpace received portions of the transcript of an
   April 19, 2007 deposition of Sanford Wallace, in response to a Freedom Of Information
   Act ("FOIA") request to the Federal Trade Commission ("FTC"). Attached hereto as
   Exhibit 5 is a true and correct copy of this deposition transcript.
         9.     Attached as Exhibit 5 is a true and correct copy of the deposition transcript
   of Walter Rines, taken by the Federal Trade Commission ("FTC") on June 13, 2007, and
   accompanying exhibits. Counsel for MySpace obtained this transcript pursuant to a
   FOIA request to the FTC.
          10.   Attached as Exhibit 6 is a true and correct copy of the deposition transcript
   of Sanford Wallace, taken by the FTC on April 19, 2007.
          11.   Attached as Exhibit 7 is a true and correct copy of a contempt motion filed
   by the FTC on January 23, 2008, in the District of New Hampshire, based upon
   defendants' spamming and phishing attacks on MySpace.
          12.   Attached as Exhibit 8 is a true and correct copy of a preliminary injunction
   obtained by the FTC against Rines, entered on or around April 19, 2006, by the District
   of New I lampshire.
          13.   Attached as Exhibit 9 is a true and correct copy of the Stipulated Final Order
   For Permanent Injunction And Settlement Of Claims For Monetary Relief obtained by


                                                2
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   the FTC against Rines, entered on or around October 24, 2006, by the District Court of
   New Hampshire.
         14.    Attached as Exhibit 10 is a true and correct copy of this court's preliminary
   injunction order entered on July 20, 2007.
         15.    Attached as Exhibit 11 is a true and correct copy of this court's order
   modifying the original preliminary injunction order, entered on October 16, 2007.
         16.    Attached as Exhibit 12 is a true and correct copy of the Declaration of Sarah
   Kaleel, filed in support of MySpace's preliminary injunction motion.
         17.    Attached as Exhibit 13 is a true and correct copy of the Declaration of Rick
   Frazier, filed in support of MySpace's preliminary injunction motion.
         18.    Attached as Exhibit 14 is a true and correct copy of the Declaration of Jason
   Wiley, filed in support of MySpace's preliminary injunction motion.
         19.    Attached as Exhibit 15 is a true and correct copy of the Supplemental
   Declaration of Sarah Kaleel, filed in support of MySpace's preliminary injunction
   motion.
         20.    Attached as Exhibit 16 is a true and correct copy of the Declaration of Ian
   Ballon, filed in support of MySpace's preliminary injunction motion.
         21.    Attached as Exhibit 17 is a true and correct copy of the Declaration of
   Sanford Wallace, filed in opposition to MySpace's preliminary injunction motion.
         22.    Attached as Exhibit 18 is a true and correct copy of the Declaration of Shing
   Yin Khor in support of MySpace's motion to modify the preliminary injunction order.
         23.    Attached as Exhibit 19 are true and correct copies of documents produced
   by Digital River, inc. ("DirecTrack data"), and MySpace's subpoena duces tecum served
   upon Digital River, Inc. The DirecTrack data consists of a spreadsheet that summarizes
   Rines's August 2007 earnings based upon subscriptions ("leads") generated for various
   commercial promotions ("campaigns"), including Ringtones.net (line 11), which was the
   service promoted in the spam attacks that Rines launched on MySpace beginning in

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   August 2006. See Declaration of Shing Yin Khor In Support Of MySpace, Inc.'s Motion
   To Modify The Court's Preliminary Injunction Order, filed on October 1, 2007, ¶ 7.
         24.    Attached as Exhibit 20 are true and correct copies of documents produced
   by Domains By Proxy, Inc. and MySpace's subpoena duces tecum served upon Domains
   By Proxy, Inc. These documents show that Rines is the registrant for the domains used
   in the attacks beginning in August 2007, as referenced in the Declaration of Shing Yin
   Khor In Support Of MySpace, Inc.'s Motion To Modify The Court's Preliminary
   Injunction Order, filed on October I, 2007,113.
         25.    Attached as Exhibit 21 are true and correct copies of documents produced
   by Fling.com , LLC ("Fling.com data") and MySpace's subpoena served upon Fling.com ,
   LLC. These documents summarize payments to Rines for generating leads for
   Fling.com, between December 2006 and September 2007. Defendants have spammed
   MySpace to promote websites advertising offers from Fling.com .     See Declaration of
   Rick Frazier In Support Of MySpace, Inc.'s Motion For Preliminary Injunction, filed on
   June 11, 20071 8.
         1 declare under penalty of perjury under the laws of the United States of America
   that the foregoing is true and correct and that this Declaration was executed on April 18,
   2008 in Santa Monica, California.




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                       DECLARATION OF LORI CHANG IN SUPPORT OF MYSPACE'S
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                                                PROOF OF SERVICE
   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
            I am employed in the aforesaid county, State of California; I am over the age of 18 years and not a party
   to the within action; my business address is 2450 Colorado Avenue, Suite 400E, Santa Monica, California 90404.
            On April 18, 2008, I served the DECLARATION OF LORI CHANG IN SUPPORT PLAINTIFF
   MYSPACE, INC.'S NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENTS AGAINST
   DEFENDANTS SANFORD WALLACE AND WALTER RINES; on the interested parties in this action by
   placing the true copy thereof, enclosed in a sealed envelope, postage prepaid, addressed as follows:
   [X] (BY MAIL)
                   I   am readily familiar with the business practice of my place of employment in respect to the
               collection and processing of correspondence. pleadings and notices for mailing with United States
               Postal Service. The foregoing sealed envelope was placed for collection and mailing this date
               consistent with the ordinary business practice of my place of employment, so that it will be picked up
               this date with postage thereon fully prepaid at Santa Monica, California. in the ordinary course of such
               business.

              Sanford Wallace                                 Walter Rifles
              7800 S. Rainbow Blvd., Apt. 1118                6 Laurel Lane
              Building 26                                     Stratham, NII 03885
              Las Vegas, NV 89139

              Sanford Wallace
              6130 W. Flamingo Rd. 4205
              Las Vegas, NV 89103

           (BY OVERNITE EXPRESS)
             I am readily familiar with the business practice of my place of employment in respect to the collection
             and processing of correspondence, pleadings and notices for delivery by Overnite Express. Under the
             practice it would be deposited with Overnite Express on that same day with postage thereon fully
             prepared at Santa Monica, California in the ordinary course of business. I am aware that on motion of
             the party served, service is presumed invalid if delivery by Overnite Express is more than one day after
             date of deposit with Overnite Express.
               Sanford Wallace                                 Sanford Wallace
               7800 S. Rainbow Blvd., Apt. 1118               6130 W. Flamingo Rd. /1205
               Building 26                                     Las Vegas. NV 89103
               Las Vegas, NV 89139

        (FEDERAL)            1 declare under penalty of perjury that the foregoing is true and correct, and that
                             I am employed at the office of a member of the bar of this Court at whose
                             direction the service was made.

           Executed on April 18, 2008, at Santa Monica, Californ



                                                                                     PJacqu /,wire
                                                                                    Print Name


                                                PROOF OF SERVICE
